Case 2:15-cv-05346-CJC-E Document 438-11 Filed 10/09/20 Page 1 of 20 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28550




                      Exhibit 1-J
       Evidence Packet in Support of Defendant’s Motions for Summary Judgment


        U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                  Evidence Packet P.0274
Case 2:15-cv-05346-CJC-E Document 438-11 Filed 10/09/20 Page 2 of 20 Page ID
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 1                         UNITED STATES DISTRICT COURT
 2                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
     T.P., by and through S.P., as Next      )
 4   Friend, Parent, and Natural             )
     Guardian, et al.,                       )
 5                                           )
                  Plaintiffs,                )
 6                                           )
           v.                                )      Case No 2:15-cv-05346-R-E
 7                                           )
                                             )      Hon. Judge Manuel Real
 8   WALT DISNEY PARKS AND                   )
     RESORTS U.S., INC.,                     )
 9                                           )
                  Defendant.                 )
10
11                   EXPERT DECLARATION OF BRUCE LAVAL
12   I, Bruce Laval, declare as follows:
13         1.     I have been retained to testify as an expert in the above-referenced
14   matter on behalf of Walt Disney Parks and Resorts U.S., Inc. (“Disney”). I have
15   been asked to review certain studies, data and other information related to Disney’s
16   Disability Access Service (“DAS”) at both Walt Disney World (“WDW”) and
17   Disneyland Resort (“DLR”). I have also been asked to provide an opinion on the
18   issues raised by the plaintiffs in this case from the perspective of an industrial
19   engineer and expert on theme park wait times, attraction entitlements that mitigate
20   wait times, and the impact of wait times on guest satisfaction. This report is made
21   based on information available to me at this time and I reserve the right to modify
22   or supplement my report should additional information become available.
23         2.     I am being compensated at a rate of $400 per hour for my time on this
24   matter. My compensation is not dependent on the outcome of this case or on the
25   substance of the opinions in this report.
26         3.     I am a retired industrial engineer and former Executive Vice President
27   of Operations Planning and Development for Walt Disney Parks and Resorts.
28
     HIGHLY CONFIDENTIAL                                EXPERT DECL. OF BRUCE LAVAL
                                                                   (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0275
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 1   During my 30-year career with Disney, I held key roles in the planning,
 2   development, and operation of many of the Disney Parks around the world. I hold
 3   a Bachelor of Science degree in Industrial & Systems Engineering and a Master of
 4   Business Administration from the University of Florida. My studies included,
 5   among other things, operations research, computer simulations, statistical analysis,
 6   and other electives involving technical analyses.
 7         4.     I joined Disney in 1971 as an Industrial Engineer and was promoted to
 8   Manager of the Industrial Engineering Department in 1973. In 1976, I joined the
 9   project development team for Epcot at WDW and was responsible for developing
10   the original design criteria for the park, which quantified the required program and
11   capacity requirements for all public facilities and all other support facilities within
12   the park. I later was promoted to the position of Director of Administration &
13   Planning for Walt Disney Imagineering. When Epcot opened in the early 1980s, I
14   assumed the role of General Manager of Epcot.
15         5.     In 1985, I was promoted to Director of Project Development for what
16   was then known as Disney-MGM Studios, one of the WDW parks. In that role, I
17   was the lead operating executive responsible for providing all project design criteria
18   and operational input to the creative design team. In 1989, I was promoted to Vice
19   President of Disney-MGM Studios responsible for the overall operation of the Park.
20   In 1994, I was promoted to Executive Vice President of Theme Parks and oversaw
21   the operation of the Magic Kingdom, Epcot, and Disney-MGM theme parks. I later
22   assumed the role of Executive VP of WDW Operations, which included
23   responsibility for all of the theme parks and all resort/hotel operations at WDW.
24         6.     In 1998, I was promoted to Executive VP of Operations Planning and
25   Development for Walt Disney Parks and Resorts. In this role, I was responsible for
26   integrating innovative theme park design with operational best practices for the
27   Company’s Theme Parks and Resorts throughout the world. During this time, I
28
     HIGHLY CONFIDENTIAL                      -2-        EXPERT DECL. OF BRUCE LAVAL
                                                                    (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0276
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 1   invented Disney’s FastPass system and was instrumental in the design and
 2   implementation of the system throughout all Disney parks worldwide.
 3         7.     As an Industrial Engineer (“IE”) and Manger of the Industrial
 4   Engineering department, I pioneered the development of the process which later
 5   became known as “Guestology.” Guestology at the time was defined as . . . “the
 6   scientific study of the behaviors, needs, and expectations of people in a theme park
 7   environment, and the application of this knowledge to optimize the operation of
 8   existing attractions & facilities and the design efficiency of future theme parks.”
 9   Over the years the term Guestology evolved to cover much broader functions, but it
10   was always based on using the most sophisticated technical and quantitative tools to
11   study all aspects of the guests experience and then to use these tools and
12   information to refine, improve, and optimize all aspects of the park operation.
13         8.
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21         9.     Therefore, there was always a very strong value proposition and
22   motivation on everyone’s part at Disney to do whatever was reasonably possible to
23   reduce wait times. In addition, Disney also pioneered the development of themed
24   queue lines and entertainment in the lines wherever possible.
25         10.    Despite these various attempts and strategies to reduce wait times over
26   the years, wait time and its impact on guest satisfaction remained a top priority, and
27   led in the late 1990s to the development of the FastPass system. In developing
28
     HIGHLY CONFIDENTIAL                     -3-       EXPERT DECL. OF BRUCE LAVAL
                                                                  (2:15-CV-05346-R-E)
                                                                Evidence Packet P.0277
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 1   FastPass, I accepted the fact that it is impossible to totally eliminate wait times.
 2
 3

 4               With the availability of new computer technology, the concept of a
 5   “Virtual Queue” was conceived.
 6         11.    The FastPass system eliminates the physical standing in line problem
 7   by establishing a “Virtual Queue” which essentially saves the guest’s place in line
 8   and then (through an algorithm) projects when the saved place will move to the
 9   front of the line and be ready to enter the attraction. This is accomplished with the
10   issuance of a ticket with an attraction return time on it, which would have been
11   approximately the same time the guest would have entered the attraction if they had
12   stood in line the whole time. Therefore, instead of standing in a physical line, the
13   guests were now able to spend that previously unproductive time going to other
14   attractions, entertainment venues, shopping, or dining.
15         12.
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21         13.    When FastPass was first implemented, a guest could only get one
22   FastPass at a time and only when they had redeemed that entitlement could they
23   obtain another FastPass time.
24
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28
     HIGHLY CONFIDENTIAL                      -4-       EXPERT DECL. OF BRUCE LAVAL
                                                                   (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0278
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 1                                                                   Therefore, guests
 2   entering the park after 12:00 would not have access to the FastPass System and
 3   would have to wait in the standby line at all attractions.
 4         14.    Implementation of these restrictions was necessary in order to provide
 5   everyone equal opportunity and access to the FastPass system throughout the day.
 6   In addition to these limitations, on some of the most popular attractions, access to
 7
 8
 9                 This also ensured that all guests at the end of the day would still have
10   the opportunity to visit the attraction through the standby line if they were unable to
11   obtain FastPass.
12         15.    Over the years, Disney has continued to expand and make
13   improvements to FastPass. Today, the FastPass+ system at WDW allows guests to
14   reserve, on a first come first serve basis, up to three FastPass times for different
15   attractions each day. They can do this online up to 60 days in advance of their visit.
16   For example, one attraction might be at 10 am, one at 1:30 pm and the third at 4
17   pm.
18
19

20         16.    In addition to the three FastPass+ times guests can reserve in advance
21   of their visit to WDW, once those three entitlements have been redeemed,
22   additional FastPasses can be requested if available (one at a time) and that works
23   the same way the original FastPass system worked.
24         17.    The principle behind the Disability Access Service or DAS is similar
25   to the FastPass system, but it is not limited in some of the ways FastPass is. DAS
26   provides an entitlement to persons with cognitive disabilities, such as autism, who
27   state they cannot wait in a traditional queue environment. I am aware of the fact
28
     HIGHLY CONFIDENTIAL                      -5-       EXPERT DECL. OF BRUCE LAVAL
                                                                   (2:15-CV-05346-R-E)
                                                                  Evidence Packet P.0279
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                                 #:28556



 1   that Disney adapted DAS because the prior means of accommodating guests with
 2   cognitive disabilities, which was called the Guest Assistance Card or GAC, was
 3   subject to abuse by guests who claimed they could not wait in a traditional queue
 4   environment, even though they may not have had a disability. A guest with a GAC
 5   was able to go to any attraction and board through the “backdoor” with little or no
 6   wait, or through the shorter FastPass line, and never had to reserve a time in
 7   advance. It was, in effect, like having your own premium pass that could be used
 8   without limitation at any attraction at WDW or DLR. The GAC privilege was also
 9   extended to everyone in the same party of the person with the disability.
10         18.    At WDW, a DAS card can be obtained at the Guest Relations office in
11   each park. When DAS was launched at WDW in October of 2013, it was a
12   physical card that was filled out and issued to the guest requesting it; today it is
13   loaded into the guest’s electronic ticket or Magic Band. Similarly, at DLR, a DAS
14   card can be obtained at the Guest Relations office. As with WDW, DLR’s DAS
15   program was launched in October of 2013 with physical cards issued to guests;
16   today, DAS is loaded into a guest’s electronic park ticket.
17         19.    There are several differences between DAS and FastPass, although the
18   principle is similar. With a DAS card, the guest or anyone in the guest’s party can
19   request a return time at an attraction that is 10 minutes less than the posted wait
20   time for that attraction. DAS entitlements never run out for the day and can always
21   be requested.
22         20.    DAS can also be used to access any attraction with a wait time of 10
23   minutes or less. Because 10 minutes is always subtracted from the posted wait
24   time, on rides with a wait time of 10 minutes or less, the DAS guest and his or her
25   party can bypass the standby line altogether, without having to receive a return
26   time. This is a significant benefit, because the majority of the attractions in the four
27   parks usually have wait times of 10 minutes or less. Thus anyone with a DAS card,
28
     HIGHLY CONFIDENTIAL                      -6-       EXPERT DECL. OF BRUCE LAVAL
                                                                   (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0280
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 1   including everyone in that person’s party, can go on any of these rides with no wait
 2   at all; they essentially are waved in.
 3         21.    Under the DAS system, once the return time arrives and the guest
 4   redeems the DAS entitlement, he or she can then obtain another return time for the
 5   same attraction, or for any other attraction. In addition to the ability to use the DAS
 6   card repeatedly throughout the day (and every other day of the guest’s visit), the
 7   DAS guest can take advantage of the three FastPass+ entitlements discussed above
 8   and often one additional entitlement.
 9

10                                                     The holder of this pass may use it to
11   enter the shorter FastPass line at any time of the day at any attraction at DLR and at
12   any attraction in any of the four theme parks at WDW.
13         22.
14

15
16                                            even if they are the most popular attractions
17   that may have stand-by wait times on busy days of 1-2 hours each.
18         23.    I have reviewed and discussed with the IE team at WDW a study that
19   confirms that wait times for obtaining a DAS card are minimal. This study, which
20   is summarized in Table 2 in Dr. Siskin’s Report, measured wait times and
21   transaction times at Magic Kingdom and Epcot in the queue used to request a DAS
22   card. These observations were recorded at Magic Kingdom on July 16 and July 20,
23   2015, and at Epcot on July 17 and July 21, 2015. The median wait time
24
25

26
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     HIGHLY CONFIDENTIAL                        -7-       EXPERT DECL. OF BRUCE LAVAL
                                                                     (2:15-CV-05346-R-E)
                                                                  Evidence Packet P.0281
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 4          24.     I have reviewed and discussed with the IE team at DLR a study that
 5   confirms that wait times for obtaining a DAS card are minimal. This study, which
 6   is summarized in Table 3 of Dr. Siskin’s report, measured wait times and
 7   transaction times in the queues used to request a DAS card. These observations
 8   were recorded on January 16, 2016. The results from Table 3 of Dr. Siskin’s report
 9   shows that at the Disneyland park (“DL”), the median waiting time for service is
10
11
12
13
14                             For Disney’s California Adventure (“DCA”), the typical
15   guest had
16

17
18          25.     Despite the fact that a small percentage of DAS users have complained
19   that it is not as good as GAC, overall DAS has been extremely popular, and
20   presumably many if not most of the individuals who have received DAS are guests
21   with cognitive disabilities, because they are the individuals for whom this
22   accommodation was primarily intended.
23          26.     Records from May and June of 2015 show that in those two months
24   alone, there were
25                and the median number of guests per party was approximately 4, meaning
26   that                                          in just two months in a single park.
27   The number of parties who used DAS during this period at Hollywood Studies was
28
     HIGHLY CONFIDENTIAL                     -8-       EXPERT DECL. OF BRUCE LAVAL
                                                                  (2:15-CV-05346-R-E)
                                                               Evidence Packet P.0282
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  1          and the numbers at Epcot and Animal Kingdom were
  2   respectively. See Table 1 in Dr. Siskin’s Report. Similarly,
  3         were issued at DLR in May and June of 2015 (Exhibit 1 at 2), and therefore,
  4   applying an average of 4 guests per party, there were
  5                            at DLR during those two months.
  6         27.      From the inception of DAS on October 9, 2013 to March 31, 2017,
  7   there were                              at WDW and                                at
  8   DLR. See Exhibit 1, attached hereto. These figures are powerful evidence in my
  9   opinion that DAS is working for the persons with cognitive disabilities for whom it
 10   was principally designed.
 11         28.      There are many reasons in my opinion why DAS has been extremely
 12   popular among persons with cognitive disabilities, and this is obvious from several
 13   studies Disney has conducted. At WDW in FY 2014, for example, the standby wait
 14   time that most guests experienced at the Seven Dwarfs Mine Train was, on average,
 15                                                    The wait time during peak hours for
 16   the FastPass line which DAS users go through was only                for the same
 17   attraction. Another popular attraction at Magic Kingdom, Splash Mountain, had an
 18   average standby wait time of               and a FastPass wait time of only
 19               Guests using the standby line at Peter Pan’s Flight waited              on
 20   average during FY 2014 while DAS guests using the FastPass line only waited
 21               These types of differences are apparent for many other Magic Kingdom
 22   attractions. See Exhibit 2, attached hereto.
 23         29.      Similarly, at DLR in FY 2014, the standby wait time that most guests
 24   experienced at DCA’s Radiator Springs attraction was on average
 25                                        The wait time during peak hours for the
 26   FastPass line which DAS users go through was only                  for the same
 27   attraction. Another popular attraction at Disneyland, Splash Mountain, had an
 28
      HIGHLY CONFIDENTIAL                      -9-       EXPERT DECL. OF BRUCE LAVAL
                                                                    (2:15-CV-05346-R-E)
                                                                  Evidence Packet P.0283
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  1   average standby wait time of                  and a FastPass wait time of only
  2               Guests using the standby line at Space Mountain waited                  on
  3   average during FY 2014 while DAS guests using the FastPass line only waited
  4               These types of differences are apparent for many other Disneyland
  5   attractions. See Exhibit 3, attached hereto.
  6         30.      In short, having a DAS card provides a guest with faster access to the
  7   premium or most popular attractions than what is experienced by guests without
  8   DAS, who must frequently wait in long queues. Instead of being stuck in line, a
  9   DAS guest and his party have nearly unlimited opportunities to experience other
 10   things during the time they have between obtaining a return time and redeeming
 11   that entitlement. For example, they can watch a parade, search for Disney
 12   characters, enjoy looking at castles and other landmarks, shop in one of the many
 13   stores, eat lunch, and do many other things. If they just want to go on more rides,
 14   however, they can do that as well.
 15         31.      This opportunity to gain immediate access to short-wait attractions is
 16   unique to the DAS card. This can be done all day long, with no limitation, and it
 17   perfectly complements the “free time” which all DAS cardholders have prior to
 18   each return time, when almost all other guests who want to experience the same
 19   attraction are stuck in the standby line. This opportunity is available at DLR and in
 20   each of the four parks at WDW. Today, Disney also has a smartphone app that
 21   shows on a map where the closest attractions are and what the wait time is at each
 22   attraction, making it extremely easy for DAS guests to use the time they have to
 23   experience other nearby attractions. This is particularly significant, because if you
 24   look at a typical busy summer day in 2014 for example
 25                                     of all attraction at Disneyland and      of all
 26   attractions at Disney’s California Adventure Park had posted wait times under
 27               See Exhibit 4, attached hereto.
 28
      HIGHLY CONFIDENTIAL                      - 10 -      EXPERT DECL. OF BRUCE LAVAL
                                                                      (2:15-CV-05346-R-E)
                                                                   Evidence Packet P.0284
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  1         32.      One of the biggest benefits a DAS guest has is the ability, if he or she
  2   so desires, to experience significantly more rides (including premium rides) in a day
  3   than guests without DAS can experience. At WDW, both DAS and non-DAS
  4   guests are entitled to three FastPass+ return times which can be scheduled in
  5   advance, as described above. Similarly, at DLR, both DAS and non-DAS guests
  6   are entitled to use Fast Pass. But that is the only type of quick-entry passes that
  7   most guests receive. Except when they use FastPass or redeem a FastPass+
  8   entitlement, most guests have to wait in the standby line for every attraction which
  9   has a wait time, and most of the premiere rides have wait times. DAS recipients,
 10   however, have two additional tools for avoiding long lines and experiencing more
 11   attractions.
 12         33.      First, they have the DAS itself which they can use, as described, to
 13   gain access to both long-wait and short-wait attractions, and this can be done
 14   simultaneously. Second,
 15                                  which I discussed above, and these can be used to
 16   obtain near-immediate access to any attraction in any theme park. There is also no
 17   time limit on these types of entitlements as long as they are used the same day.
 18         34.      The combination of DAS, FastPass/FastPass+ and re-ads allows a
 19   party which is so inclined to experience a very high number of attractions,
 20   including premium attractions, in a single day -- far more than most guests without
 21   DAS could experience. This fact was demonstrated in a series of tests done at both
 22   WDW and DLR. These tests show that DAS guests, if they so choose, can
 23   experience significantly more attractions and spend much less time waiting in
 24   queues. Before these studies were conducted, I discussed with Disney’s Industrial
 25   Engineering team the study design, and provided input regarding the number of
 26   testers they should use. With respect to the sample sizes used, the studies were
 27   conducted over three days at WDW and averaged across the three days, and the
 28
      HIGHLY CONFIDENTIAL                       - 11 -    EXPERT DECL. OF BRUCE LAVAL
                                                                     (2:15-CV-05346-R-E)
                                                                  Evidence Packet P.0285
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  1   DLR study was conducted over two days and averaged across the two days. I also
  2   reviewed the team’s protocols before the studies began. Once the data was
  3   collected, I verified it by reviewing the methodology and rechecking/confirming the
  4   mathematical calculations.
  5         35.   WDW conducted a series of tests using
  6
  7                                               On July 27, 28 and 29,
  8
  9

 10
 11
 12
 13
 14         36.   On the first day of testing at Magic Kingdom, when it was raining
 15   (which tends to shorten all wait times), on average the DAS tester
 16                                                                  . On the second day,
 17   on average the DAS tester
 18                                On the final day, on average the DAS tester
 19                                                                              The
 20   differences in wait times were also dramatic. On day one, the total amount of wait
 21   time the average DAS tester spent in queues was
 22
 23
 24
 25          See Exhibit 5, attached hereto.
 26         37.   Very similar numbers were produced on days two and three: on day
 27   two, the non-DAS tester waited in queues a
 28
      HIGHLY CONFIDENTIAL                      - 12 -    EXPERT DECL. OF BRUCE LAVAL
                                                                    (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0286
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  1

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  3                                                                                  The
  4   third day results were similar overall to the first two days. See Exhibit 5, attached
  5   hereto.
  6         38.     DLR also conducted a series of tests using
  7
  8
  9             On January 3 & 4 of 2016,
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 11
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 15         39.      On the first day of testing at Disneyland, on average the DAS tester
 16                                                                                         On
 17   the second day, the DAS tester
 18                                 The differences in wait times were also dramatic. The
 19   average wait time per attraction was
 20
 21                          See Exhibit 6, attached hereto.
 22         40.     Very similar numbers were produced at DCA. On the first day, the
 23   DAS tester
 24                On the second day, the DAS tester
 25                                                     For the two days this amounted to
 26   average per attraction wait times of
 27                                 See Exhibit 6, attached hereto.
 28
      HIGHLY CONFIDENTIAL                      - 13 -       EXPERT DECL. OF BRUCE LAVAL
                                                                       (2:15-CV-05346-R-E)
                                                                   Evidence Packet P.0287
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  1         41.    What plaintiffs are seeking here is in essence a request that Disney
  2   return to the GAC system. This would be a dangerous path and would, in my
  3   opinion, fundamentally alter the operation of WDW and DLR. The way to analyze
  4   this issue is rooted in the science of studying the relationship between attraction
  5   capacity and wait times. Guest wait time is a function of how many guests are
  6   standing in line and the actual processing capacity of the attraction at the time the
  7   guests are in line. To calculate the wait time,
  8
  9

 10                        Because demand (number of guests in line) is constant at any
 11   given point in time, then any slight change in the attraction capacity has an
 12   immediate impact on the resulting wait time.
 13         42.    With the implementation of the FastPass system, a specific percentage
 14   of the available attraction capacity is assigned to FastPass users. The remaining
 15   attraction capacity is set aside for standby guests. Therefore, when DAS guests use
 16   their DAS passes, re-admission passes and FastPasses (or FastPass+s at WDW),
 17   this reduces the total amount of capacity that is available for the guests waiting in
 18   the standby line, which in turn increases the wait time for the standby line.
 19

 20
 21
 22
 23
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 25                                                     . This demonstrates that any
 26   excessive use of non-standard entitlements such as re-ads or GAC abuses can have
 27

 28
      HIGHLY CONFIDENTIAL                     - 14 -     EXPERT DECL. OF BRUCE LAVAL
                                                                    (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0288
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  1

  2
  3         43.    This principle was played out when GAC was in effect and was
  4   studied by the company. In April 2013, the Industrial Engineering (IE) team
  5   conducted a study to measure the volume of guests using GAC at select WDW
  6   attractions as compared to the percentage of total ridership (hereinafter referred to
  7   as the “GAC Easter Study”).
  8
  9

 10
 11
 12         44.    At the time, Disney estimated that approximately              of guests at
 13   WDW were issued a GAC.
 14

 15
 16

 17
 18
 19         45.    In short,
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      HIGHLY CONFIDENTIAL                     - 15 -    EXPERT DECL. OF BRUCE LAVAL
                                                                   (2:15-CV-05346-R-E)
                                                                 Evidence Packet P.0289
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                                  #:28566



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  2                               To me, this is like turning civil rights or disability rights
  3   on its head.
  4         46.      Disney has not performed a similar study at DLR, but it is my expert
  5   opinion that, to a reasonable degree of scientific certainty, results similar to what
  6   happened at WDW would also occur at DLR. The theme parks at WDW and DLR
  7   have many of the same rides, a similar park layout, and the same kinds of line
  8   options at the attractions: standby and FastPass lines.
  9         47.      If the plaintiffs who have sued Disney were to prevail on their request
 10   for relief, which is as I understand it to return to the unfettered, immediate access to
 11   all rides and attractions that GAC offered, it would in my opinion have the same
 12   impact as was seen in the GAC Easter Study.
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 18         48.
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 27               See Exhibit 7, attached hereto.
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      HIGHLY CONFIDENTIAL                      - 16 -     EXPERT DECL. OF BRUCE LAVAL
                                                                     (2:15-CV-05346-R-E)
                                                                   Evidence Packet P.0290
     Case 2:15-cv-05346-CJC-E Document 438-11 Filed 10/09/20 Page 18 of 20 Page ID
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 1           49.The team also studied
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10           50.Due to the fact that DLR does not use the Magic Band and does not have
11     access to the same more extensive database, Disney did not perform a similar study
12     at DLR. However, it is my expert opinion that, to a reasonable degree of scientific
13     certainty, results similar to what happened at WDW would occur at DLR.
14           51.    Based on everything I have reviewed and discussed with the industrial
15     engineers at Disney about DAS and based on many years of working in this area, it
16     is my conclusion that DAS provides faster access and, if the guest desires, more
17     access to more attractions than what a guest at WDW or DLR can experience
18     without DAS.
19           52.    It is my opinion, to a reasonable degree of scientific certainty, that
20     DAS not only reasonably accommodates and provides equal access to guests with
21     disabilities, for whom it may be difficult to wait in a traditional queue, but that it
22     also provides more than equal access to such guests overall because they can
23     experience the most popular attractions faster and, if they desire, in greater number
24     than what             of guests at WDW and DLR can do without DAS. Moreover,
25     DAS guests are able to experience these attractions with essentially little or no time
26     waiting in a physical line.
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       HIGHLY CONFIDENTIAL                      - 17 -     EXPERT DECL. OF BRUCE LAVAL
                                                                      (2:15-CV-05346-R-E)
                                                                        Evidence Packet P.0291
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                                                        Evidence Packet P.0292
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                                             Appendix A
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       The following is a list of all cases in which I testified as an expert at trial or by
   3
       deposition during the previous four years:
   4
             • A.L,., et al. v. Walt Disney Parks and Resorts U.S., Inc. (2015)
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       HIGHLY CONFIDENTIAL                                  EXPERT DECL. OF BRUCE LAVAL
                                                                       (2:15-CV-05346-R-E)
                                                                   Evidence Packet P.0293
